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-v- 2;04cr20381-01-Mi ' ' ' “"‘ H'S

DARRELL RYAN
§meiwl?»row___n._CJ_.A
Defense Attorney
9160 Highway 64, Suite 12
Lakeland, TN 38002

 

JUDGMENT |N A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count ‘l of the indictment on February 3, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following

 

offense(s):
Date Count
Tit|e & Section Nature of Offense Offense Numberjs)
Concluded
18 U.S.C. § 513(a) Uttering and Possession of Counterfeit 10/23/2000 1

Secu rity

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Counts 2, 3, 4 and 5 are dismissed on the motion of the United States.

IT lS FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth; 03/01/1965 April 15, 2005
Deft’s U.S. lVlarshal No.: 19997-076

Defendant’s |Vlailing Address:
1735 Nlerrycrest Drive
lV|emphis, TN 38111

() t
` qh_
JON F’H|PPS |V|cCALLA
NlTE STATES DlSTRlCT JUDGE

April 5 , 2005
This document entered on the docket sheet ..i __ _-l__
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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 18 Months (or 1 Year and 6 l\/lonths).

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
at the Federal Prison Camp in lVlillington, TN.

The defendant is remanded to the custody of the United States |vlarshal.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UNlTED STATES lVlARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2104CR20381-01-|Vll Defendant Name: Darrell RYAN Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawful occupation unless excused by the probation omcer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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law enforcement officer',

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation1 it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Penalties sheet of this judgment.

ADD|T|ONAL COND\T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall provide full financial disclosure as directed by the Probation Office.
2. The defendant shall not acquire any new financial obligations without the permission of the
Probation Office.

3. The defendant shall provide third-party risk notificationl

4. The defendant shall participate in substance abuse counseling and treatment as deemed
appropriate by the Probation Officer.

5. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefol|owing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00 $2,000.00

 

The Special Assessment shall be due immediately.

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F|NE
A Fine in the amount of $ 2,000.00 is imposed.
REST|TUT|ON

No Restitution was ordered.

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay the fine in regular monthly installments of not less 5% of
gross monthly income.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer. or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20381 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

 

Sheila D. Brovvn

LAW OFFICE OF SHEILA D. BROWN
9160 Highvvay 64

Ste. 12

Lakeland7 TN 38002

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

